

People v Jennings (2025 NY Slip Op 01501)





People v Jennings


2025 NY Slip Op 01501


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., BANNISTER, GREENWOOD, NOWAK, AND KEANE, JJ.


182 KA 23-00988

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCHAD P. JENNINGS, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






RYAN JAMES MULDOON, AUBURN, FOR DEFENDANT-APPELLANT. 
BRITTANY GROME ANTONACCI, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Cayuga County Court (Thomas G. Leone, J.), rendered February 16, 2023. The judgment convicted defendant, upon his plea of guilty, of aggravated family offense and criminal contempt in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








